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 4
     Attorney for Defendant
 5   Nicholas Ramirez
 6
                     IN THE UNITED STATES DISTRICT COURT
 7
                 IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9                                     )   Case No. Cr.S 11-190 MCE
     UNITED STATES OF AMERICA,         )
10                                     )   STIPULATION TO CONTINUE
                 Plaintiff,            )   STATUS
11                                     )
          vs.                          )   ORDER
12   NICHOLAS RAMIREZ,                 )
     TIFFANY BROWN                     )
13                                     )
                 Defendant             )
14                                     )
15
                                   STIPULATION
16
         Plaintiff United States of America, by and through its
17
     counsel of record, and the defendant’s herein, by and through
18

19
     their counsel of record, hereby stipulates as follows:

20       By previous order, this matter was set for status on March

21   23, 2017.

22       By this stipulation, defendants now move to continue the

23   status conference until June 15, 2017, and to exclude time
24   between March 23, 2017, and June 15, 2017 under Local Code T4.
25
     Plaintiff agrees with this request.



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         Counsel for defendants desire additional time to review
 1
     documents and to consult with their clients in efforts to
 2
     resolve this case.
 3

 4       The government agrees to the continuance.

 5       Based on the above-stated findings, the ends of justice

 6   served by continuing the case as requested outweigh the interest

 7   of the public and the defendant in a trial within the original

 8   date prescribed by the Speedy Trial Act.
 9       For the purpose of computing time under the Speedy Trial
10
     Act, 18 U.S.C. § 3161, et seq., within which trial must
11
     commence, the time period of March 23, 2017, to June 15, 2017,
12
     inclusive, is deemed excludable pursuant to 18 U.S.C.§
13
     3161(h)(7)(A), B(iv) [Local Code T4] because it results from a
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     continuance granted by the Court at defendant’s request on the
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     basis of the Court's finding that the ends of justice served by
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     taking such action outweigh the best interest of the public and
17
     the defendant in a speedy trial pursuant to 18 U.S.C. § 3161(h).
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           Case 2:11-cr-00190-KJM Document 328 Filed 03/24/17 Page 3 of 4


         Nothing in this stipulation and order shall preclude a
 1
     finding that other provisions of the Speedy Trial Act dictate
 2
     that additional time periods are excludable from the period
 3

 4   within which a trial must commence.

 5

 6   DATED: March 22, 2017                    Respectfully submitted

 7

 8                                            /S/MICHAEL B. BIGELOW
                                              Michael B. Bigelow
 9                                            Attorney for Nicholas Ramirez
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 1   IT IS SO STIPULATED
 2
     /S/ JASON HITT
 3
     Jason Hitt, Esq.,                               Dated: March 22, 2017
 4   Assistant United States Attorney
     Attorney for Plaintiff
 5

 6
     /S/MICHAEL B. BIGELOW                           Dated: March 22, 2017
 7   Michael B. Bigelow
     Attorney for Defendant
 8   Nicholas Ramirez
 9   /s/Dina Santos
     Dina Santos,                                    Dated: March 22, 2017
10
     Attorney for
11
     Tiffany Brown

12

13                                         ORDER

14       Pursuant to parties’ stipulation the above referenced

15   matter shall be continued until June 15, 2017 9:00 AM, and time

16   excluded for the reasons set forth above.
17       IT IS SO ORDERED.
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     Dated:     March 23, 2017
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